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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

   ELIZABETH SINES et al.,                      )
        Plaintiffs,                             )       Civil Action No. 3:17-cv-00072
                                                )
   v.                                           )       ORDER
                                                )
   JASON KESSLER et al.,                        )       By:    Joel C. Hoppe
        Defendants.                             )              United States Magistrate Judge


          This matter is before the Court on Plaintiffs’ post-trial Motion for Attorney’s Fees and

   Costs (“Pls.’ Mot.”), ECF No. 1552, and Bill of Costs, ECF No. 1553. See Order of Jan. 5, 2023,

   ECF No. 1624. The Report & Recommendation entered this date addresses Plaintiffs’ requests

   for $12,726,103.35 in attorney’s fees under Virginia Code § 8.01-42.1(B), see Pls.’ Mot. 8, 19,

   21, 30, and for $546,018.46 in other costs under Rule 54(d) of the Federal Rules of Civil

   Procedure, see id. at 20, 30–31.

          Separately, Plaintiffs seek $1,266,420.84 in costs associated with hiring a third-party

   discovery vendor to collect and produce electronically stored information (“ESI”) from

   Electronic Devices and Social Media Accounts belonging to certain Defendants or their agents.

   See Pls.’ Mot. 20, 32 (citing ECF No. 383); Decl. of Yotam Barkai, Esq. ¶¶ 27–28 (citing ECF

   Nos. 379, 383). They make this request specifically under the parties’ Stipulation & Order for the

   Imaging, Preservation, and Production of Documents, ECF No. 383 (“ESI Stip. & Order”), and

   not under Rule 54(d)(1) of the Federal Rules of Civil Procedure. See Pls.’ Mot. 20, 32 (citing

   ECF No. 383); Barkai Decl. ¶ 28 (citing ECF Nos. 379, 383). No Defendant has opposed

   Plaintiffs’ request to be reimbursed for these specific e-discovery expenses under the terms of the

   ESI Stipulation & Order. See Pls.’ Reply 6 & n.1; Pretrial Order ¶ 7, ECF No. 101.




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           I signed and entered the ESI Stipulation & Order on November 19, 2018, shortly after

   granting Plaintiffs’ motion to compel seventeen Defendants to permit inspection and imaging of

   their electronic devices. See Order of Nov. 13, 2018, ¶¶ 1–2, ECF No. 379; Pls.’ Mot. to Compel

   Defs. to Permit Insp. & Imaging of Elec. Devices 2–4, ECF No. 354 (Oct. 2, 2018); Fed. R. Civ.

   P. 37(a)(3)(B)(iv). The ESI Stipulation & Order was drafted by the Parties 1 and “put in place

   specifically to help” the seventeen named Defendants “‘collect and preserve’ ESI from identified

   social media accounts and ‘electronic devices that [was] potentially relevant to this litigation

   and/or responsive to Plaintiffs’ discovery requests’ originally served on January 25, 2018.”

   Mem. Op. of Aug. 19, 2019, at 19, ECF No. 539 (quoting Stip. & Order ¶ I(1)); see Order of

   Mar. 26, 2018, at 3 (noting that all Defendants failed to timely respond to Plaintiffs’ discovery

   requests and directing each Defendant to answer, respond, or object to those requests within

   twenty-one days), ECF No. 287. It contains the following agreed-upon terms:

           Within 21 days of the entry of this Stipulation and Order, the Parties shall engage,
           at Plaintiffs’ expense, a Third Party Discovery Vendor to conduct the collection
           and production of ESI from Defendants’ Electronic Devices and Social Media
           Accounts required by this Stipulation and Order. Pursuant to the Court’s November
           13, 2018 Order, ECF No. 379, such engagement shall be without prejudice to
           Plaintiffs’ ability to seek to recover from Defendants expenses arising from this
           engagement at a later date. This Stipulation and Order does not obligate
           Defendants to pay any fees or costs incurred by the Third Party Discovery Vendor
           at this time, and does not prejudice Defendants’ rights to oppose any request made
           by Plaintiffs to recover those expenses, any such obligation to be determined at a
           later date.




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    “Plaintiffs and Defendants Christopher Cantwell, Nathan Damigo, Matthew Heimbach, Michael Hill,
   Identity Ervopa, Jason Kessler, League of the South, Eli Mosely [a.k.a. Elliott Kline], Nationalist Front,
   National Socialist Movement, Matthew Parrott, Robert [‘Azzmador’] Ray, Jeff Schoep, Richard Spencer,
   Traditionalist Worker Party, Michael Tubbs, and Vanguard America (collectively, the ‘Defendants,’ and
   with Plaintiffs, the ‘Parties’) hav[e] stipulated and agreed to the terms set forth herein[.]” Id. The ESI
   Stipulation & Order does not apply to Defendant James Fields Jr. See ESI Stip. & Order 2; Mem. Op. of
   June 11, 2020, ECF No. 759.

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   ESI Stip. & Order ¶ II(4) (emphasis added). The Parties engaged iDiscovery Solutions (“iDS”) in

   Washington, D.C., to image, collect, and produce ESI from these Defendants’ electronic devices

   and social media accounts. See Barkai Decl. ¶ 27. There is no indication that iDS handled any

   Electronic Device or Social Media Account belonging to Plaintiffs. See id. ¶¶ 27–28.

           Plaintiffs submitted invoices from iDS showing that Plaintiffs incurred $1,266,420.84 in

   fees for imaging, collection, production, preservation, and related tasks performed between

   March 1, 2019, and October 31, 2021. See Barkai Decl. Ex. V, at 2–229. The Parties’ agreement

   contemplated that Plaintiffs would incur expenses “arising from” the Vendor’s work

   “conduct[ing] the collection and production of ESI from Defendants’ Electronic Devices and

   Social Media Accounts required by th[e] Stipulation and Order,” including taking measures to

   “preserve evidence” from those devices and accounts, and that Plaintiffs could later seek to

   “recover those expenses” from Defendants. ESI Stip. & Order ¶¶ I(1), II(4).

           Accordingly, Plaintiffs are entitled to recover $1,266,420.84 in reimbursable expenses

   under the terms of the ESI Stipulation & Order. See Belk v. Charlotte-Mecklenburg Bd. of Educ.,

   269 F.3d 305, 324 (4th Cir. 2001) (en banc) (acknowledging “the rule in this circuit that a district

   court . . . is best able to interpret its own orders” (quotation marks omitted)). Defendants

   Christopher Cantwell, Nathan Damigo, Matthew Heimbach, Michael Hill, Identity Ervopa, Jason

   Kessler, League of the South, Eli Mosely (a.k.a. Elliott Kline), Nationalist Front, National

   Socialist Movement, Matthew Parrott, Robert “Azzmador” Ray, Jeff Schoep, Richard Spencer,

   Traditionalist Worker Party, Michael Tubbs, and Vanguard America shall be jointly and several

   liable to Plaintiffs for this amount.

                                                 ENTERED: March 7, 2023




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                                      Joel C. Hoppe
                                      United States Magistrate Judge




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